                             EXHIBIT A
                              Proposed Order




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DOCS_DE:235076.1 70753/001
                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
                                                                        )
In re:                                                                  )    Chapter 11
                                                                        )
PES HOLDINGS, LLC, et al.,1                                             )    Case No. 19-11626 (LSS)
                                                                        )
                                   Debtors.                             )    (Jointly Administered)
                                                                        )

                       ORDER APPROVING STIPULATION ALLOWING
                              INTERMEDIATION CLAIMS

         Upon the Certification of Counsel Submitting Order Approving Stipulation Allowing

Intermediation Claims (the “Certification of Counsel”) and the Stipulation of Allowing

Intermediation Claims (the “Stipulation”),2 attached hereto as Exhibit 1, by and among The

Liquidating Trust, ICBC Standard Bank Plc (“ICBCS”), and Cortland Capital Market Services

LLC, as administrative agent (the “Agent” and together with the Liquidating Trust and ICBCS,

the “Parties”) for and on behalf of itself and each of the lenders under the Term Loan Credit

Agreement (each a “Term Loan Lender” and collectively, the “Term Loan Lenders”); and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this Court having found that venue of this proceeding

and the Stipulation in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this

Court having reviewed the Stipulation; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
    Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
    Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
    service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Settlement
     Stipulation.

                                                     1
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        1.       The Stipulation is approved.

        2.       The Parties are authorized to take all actions necessary to effectuate the relief

granted in this Order and to consummate the Stipulation.




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                             EXHIBIT 1

                             Stipulation




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                                          )
    In re:                                                                )    Chapter 11
                                                                          )
    PES HOLDINGS, LLC, et al.,1                                           )    Case No. 19-11626 (LSS)
                                                                          )
                                      Reorganized Debtors.                )    (Jointly Administered)
                                                                          )

                    STIPULATION ALLOWING INTERMEDIATION CLAIMS

             The Liquidating Trust,2 ICBC Standard Bank Plc (“ICBCS”), and Cortland Capital Market

Services LLC, as administrative agent (the “Agent” and together with the Liquidating Trust and

ICBCS, the “Parties”) for and on behalf of itself and each of the lenders under the Term Loan

Credit Agreement (each a “Term Loan Lender” and collectively, the “Term Loan Lenders”),

through their undersigned counsel, hereby enter into this stipulation (this “Stipulation”).

                                                    RECITALS

             WHEREAS, on July 21, 2019, each of the above-captioned debtors and debtors in

possession filed a petition with the United States Bankruptcy Court for the District of Delaware

(the “Court”) under chapter 11 of title 11 of the United States Code.

             WHEREAS, pursuant to the terms of the Order (i) Setting Bar Dates for Filing Proofs of

Claim, Including Requests for Payment Under Section 503(b)(9), (ii) Setting a Bar Date for the

Filing of Proofs of Claim by Governmental Units, (iii) Establishing Amended Schedules Bar Date


1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P.
      (5952); PES Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES
      Ultimate Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The
      Reorganized Debtors’ service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
2
      Capitalized terms used but not otherwise defined shall have the meaning ascribed to them in the Plan, DIP Motion
      or DIP Orders (each as defined herein), as applicable.



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and Rejection Damages Bar Date, (iv) Approving the Form of and Manner for Filing Proofs of

Claim, (v) Approving Notice of Bar Dates, and (vi) Granting Related Relief [Docket No. 218] and

the subsequent amendment thereto [Docket No. 255], ICBCS was not required to file proofs of

claim in connection with its Intermediation Claims.

         WHEREAS, on October 21, 2019, ICBCS timely filed the following proofs of claim in

connection with its Intermediation Claims:

                  Proof of Claim 11 against North Yard GP, LLC;

                  Proof of Claim 11 against PES Intermediate, LLC;

                  Proof of Claim 11 against PES Ultimate Holdings, LLC;

                  Proof of Claim 13 against North Yard Logistics, L.P.;

                  Proof of Claim 14 against PES Administrative Services, LLC;

                  Proof of Claim 14 against PES Energy Inc.;

                  Proof of Claim 87 against PES Holdings, LLC, et al.; and

                  Proof of Claim 302 against Philadelphia Energy Solutions Refining and Marketing
                   LLC (collectively, the “Initial Proofs of Claim”).
         WHEREAS, on February 3, 2020, ICBCS timely filed the following proofs of claim

supplementing the Initial Proof of Claims in connection with its Intermediation Claims:

                  Proof of Claim 12 against North Yard GP, LLC;

                  Proof of Claim 13 against PES Intermediate, LLC;

                  Proof of Claim 13 against PES Ultimate Holdings, LLC;

                  Proof of Claim 16 against North Yard Logistics, L.P.;

                  Proof of Claim 16 against PES Administrative Services, LLC;

                  Proof of Claim 19 against PES Energy Inc.;

                  Proof of Claim 103 against PES Holdings, LLC, et al.; and

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                  Proof of Claim 346 against Philadelphia Energy Solutions Refining and Marketing
                   LLC (collectively, with the Initial Proofs of Claim, the “Proofs of Claim”).
          WHEREAS, on February 13, 2020, the Court entered an order [Docket No. 1004]

(the “Confirmation Order”) approving the Fourth Amended Joint Chapter 11 Plan of PES

Holdings, LLC and its Debtor Affiliates (the “Plan”), which was attached to the Confirmation

Order as Exhibit A thereto, and on June 26, 2020, the effective date of the Plan occurred

(the “Effective Date”).

          WHEREAS, the Plan and Confirmation Order provided for the creation of the Liquidating

Trust to, among other things, pursue certain post-Effective Date actions as set forth in the Plan and

the Confirmation Order.

          WHEREAS, the Liquidating Trust, ICBCS, and the Agent have engaged in arm’s-length

discussions in an effort to resolve the Intermediation Claims, and have reached a settlement as set

forth below.

          WHEREAS, pursuant to the terms of the Plan, the Liquidating Trust has the authority to

settle, compromise, withdraw, litigate to judgment, or otherwise resolve objections to any and all

Claims (other than General Unsecured Claims) and settle, compromise, or resolve any Disputed

Claim (other than Disputed General Unsecured Claims), but, out of an abundance of caution, the

Parties are seeking entry of an order allowing the claims asserted by ICBCS on the terms set forth

herein.

          THEREFORE, in consideration of the foregoing, the Parties stipulate and agree as

follows:

          1.       Upon the Court’s entry of an order approving this Stipulation, each of the Proofs of

Claim shall be Allowed in its full asserted amount as Secured Intermediation Claims in Class 4

pursuant to the Plan.


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         2.        The Liquidating Trust shall direct the Notice and Claims Agent or other responsible

party in the Chapter 11 Cases to cause the official claims register to be amended to reflect the

allowance of each Proof of Claim on the terms set forth in this Stipulation.

         3.        The Parties shall execute, acknowledge, deliver, or cause to be executed,

acknowledged, or delivered, all further documents as shall be reasonably necessary or desirable to

carry out the provisions of this Stipulation.

         4.        This Stipulation may only be amended or modified by a writing signed by all Parties

that is approved by an order of the Court. No waiver of any breach of this Stipulation shall be

construed as an implied amendment or agreement to amend or modify any provision of this

Stipulation. The rights and obligations set forth in this Stipulation shall inure to the benefit of the

Parties, their heirs, successors and assigns.

         5.        Each Party represents and warrants that the signatory to this Stipulation on behalf

of such Party has the full power and authority to enter into this Stipulation on behalf of such Party

and to bind such Party to the terms of this Stipulation.

         6.        This Stipulation may be signed in multiple counterparts, and when each Party or its

authorized representative has signed a counterpart hereof, each such counterpart shall be a binding

and enforceable agreement as an original. In addition, this Stipulation may be executed by

facsimile or electronic signatures, and such facsimile or electronic signatures will be deemed to be

as valid as an original signature whether or not confirmed by delivering the original signatures in

person, by courier or by mail.

         7.        The Court shall retain exclusive jurisdiction over any and all disputes arising out

of, or otherwise relating to, this Stipulation and/or each Proof of Claim.




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AGREED AND SUBMITTED BY:

 Dated: July 1, 2021
 Wilmington, Delaware
                            /s/ Bryan R. Podzius
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                           Bryan R. Podzius
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                           - and -

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                           Co-Counsel to ICBCS




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AGREED AND SUBMITTED BY:

 Dated: July 1, 2021
 Wilmington, Delaware
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                           Counsel to the Agent




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AGREED AND SUBMITTED BY:

 Dated: July 1, 2021
 Wilmington, Delaware
                            /s/ Peter J. Keane
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